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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA _ SUN 11 2024 pd

v. CASE NO.8. U- Cr- UEI- Mss - VAM
18 U.S.C. § 875(c)

RICHARD GLENN KANTWILL Wy
INDICTMENT

The United States Attorney charges:

COUNT ONE

On or about September 5, 2019, in the Middle District of Florida and

elsewhere, the defendant,
RICHARD GLENN KANTWILL,

did knowingly transmit in interstate commerce a communication containing a
threat to injure the person of another, with the intent to communicate a true
threat and with recklessness as to whether the communication would be
viewed as a true threat, by sending Victim 1| a threat via email.

In violation of 18 U.S.C. § 875(c).

COUNT TWO
On or about September 24, 2019, in the Middle District of Florida and

elsewhere, the defendant,
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RICHARD GLENN KANTWILL,
did knowingly transmit in interstate commerce a communication containing a
threat to injure the person of another, with the intent to communicate a true
threat and with recklessness as to whether the communication would be
viewed as a true threat, by sending Victim 2 a threat via text message.
In violation of 18 U.S.C. § 875(c).
COUNT THREE
On or about July 9, 2020, in the Middle District of Florida and
elsewhere, the defendant,
RICHARD GLENN KANTWILL,
did knowingly transmit in interstate commerce a communication containing a
threat to injure the person of another, with the intent to communicate a true
threat and with recklessness as to whether the communication would be
viewed as a true threat, by sending Victim 3 a threat via Instagram message.
In violation of 18 U.S.C. § 875(c).

FORFEITURE

1. The allegations contained in Counts One through Three are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.
§ 875(c) and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 875(c), the defendant

shall forfeit to the United States, pursuant to 18 U.S.C. § 875(c) and 28 U.S.C. §
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2461(c), any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation.
3 If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty;
the United States shall be entitled to forfeiture of substitute property under the
provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL

Foreperson

ROGER B. HANDBERG

FORM OBD-34
June 24

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

VS.

RICHARD GLENN KANTWILL

INDICTMENT

Violations: 18 U.S.C. § 875(c)

A true bill

Foreperson

Filed in open court this 11'™ day

of June, 2024.

C Mh guns

Clerk

Bail $

GPO 863 525
